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                                                                                    FORM 1                                                                                                Page: 1
                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                 ASSET CASES
Case Number:        16-16068 PDR                                                                             Trustee:                         Chad S. Paiva
Case Name:          Dream Recovery International LLC                                                         Filed (f) or Converted (c):      09/15/16 (c)
                                                                                                              D 0HHWLQJ'DWH            10/27/16
Period Ending: 06/30/22                                                                                      Claims Bar Date:                 01/25/17

                                        1                                     2                             3                           4                     5                       6
                                                                                                   Estimated Net Value                                                           Asset Fully
                                                                           Petition/          (Value Determined By Trustee,          Property           Sale/Funds            Administered (FA)/
                                Asset Description                        Unscheduled             Less Liens, Exemptions,           Abandoned            Received by            Gross Value of
Ref #                (Scheduled And Unscheduled (u) Property)               Values                   and Other Costs)           2$  D $EDQGRQ       the Estate           Remaining Assets

  1     Chase Bank Checking Account 7658                                               0.00                             0.00                                           0.00          FA
        Asset entered by mistake.
  2     Chase Bank Savings Account 2180                                                7.35                             0.00                                           0.00          FA

  3     Various Bank Accounts (u)                                                 Unknown                          3,315.23                                        3,315.23          FA
        Per Amd. Sch ECF#54
  4     Security Deposit with landlord                                            55,500.00                             0.00                                           0.00          FA
        This asset has no value as the debtor defaulted on lease pre-
        petition.
  5     Accounts receivable                                                  4,491,639.93                        890,000.00                                       37,196.00          FA
        Value changed at Amd Sch ECF#54; most were disputed or
        uncollectible
  6     Dream JV, LLC (50% owner)                                                 Unknown                               0.00                                           0.00          FA

  7     Office Furniture & Beds                                                    1,000.00                           500.00           OA                              0.00          FA
        Assets abandoned. Motion to abandon filed at DE#475. Order
        granting abandonment at DE#485.
  8     2012 Ford Van: VIN 1FBSS3BL2CDA76686, 76,943 miles                        15,000.00                       11,700.00                                       11,700.00          FA
        Trustee sold vehicle. See DE#194.
  9     Leased 2014 Mercedes Sprinter Van                                         Unknown                               0.00                                           0.00          FA
        Leased vehicle - No value to estate.
 10     2012 Ford Van: VIN 1FBSS3BL6CDA76772, 73,486 miles                        15,000.00                       11,500.00                                       11,500.00          FA
        Vehicle sold by Trustee. See DE#194.
 11     Internet domain names                                                     Unknown                               0.00                                           0.00          FA
        Asset has no value to estate.
 12     License with State of Florida, Department of Children and                      0.00                             0.00                                           0.00          FA
        Families
        Asset has no value.
 13     Customer/Patient List                                                     Unknown                               0.00                                           0.00          FA
        Asset has no value.
 14     Claims against Boca Palms Group, LLC                                      Unknown                      1,061,800.00                                   239,662.70             FA
        Adv. Case No: 17-01417 - Resolved per court order entered at
        ECF#396 in main case. (Brandon Bey & Bey Holdings, LLC
        also named defendants). See Note 1 below.
 15     Claims against Dream Years IV, LLC                                        Unknown                      2,000,000.00                                       13,869.99                   0.00
        Adv. Case No: 18-01122 - Resolved against all defendants but
        Brett Hirsch for $10,000.00 per court order entered at ECF#416
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     in main case. The $10,000.00 settlement was paid to the
     Trustee.

     A final judgment in the amount of $111,625.00 was entered
     against Brett Hirsch on 2/24/21 at ECF#147 in the adversary
     proceeding. This and a number of other final judgments were
     sold for a total sum of $37,500.00. See case note 4 below for
     details of the final judgment sale. As set forth in case note 4
     below, the pro-rata allocation of the $37,500.00 purchase price
     to the judgments is 3.46693%. Accordingly, $3,869.99 of the
     sale price has been allocated to this judgment.
16   Claims against CB Harrison, LLC                                     Unknown            1,061,800.00                       0.00   FA
     Adv. Case No: 17-01417 - Same as asset 14. See Note 2
     below.
17   Claims against Scott Frankel                                        Unknown            1,061,800.00                       0.00   FA
     Adv. Case No: 17-01417 - Same as asset 14. See Note 2
     below.
18   Claims against Dana Frankel                                         Unknown            1,061,800.00                       0.00   FA
     Adv. Case No: 17-01417 - Same as asset 14. See Note 2
     below.
19   NuMed Care, LLC                                                     Unknown                    0.00                       0.00   FA
     NuMed Care, LLC defunct and out of business after federal
     government raided and shut down Nu-Med in August 2015.
20   Claims aginast Michael Lohan and Calm Trust, LLC (u)                Unknown             128,287.12                   11,562.30           0.00
     Adv. Case #18-01137 - Final judgment in the amount of
     $256,574.24 entered on 9/24/2020 against Michael Lohan and
     Calm Trust, LLC at DE#106 in adversary proceeding.
     Defendants made one post-judgment payment of $2,667.00.

     This and a number of other final judgments were sold for a total
     sum of $37,500.00. See case note 4 below for details of the
     final judgment sale and the formula for the 3.466953% pro-rata
     allocation of the $37,500.00 purchase price to each judgment.
     Accordingly, $8,895.30 of the sale price has been allocated to
     this judgment.
21   Void (u)                                                                 0.00                  0.00                       0.00   FA
     Adv. Case #18-01137. Same as asset #20 above, and was
     unnecessarily created for co-defendant in adversary litigation.
22   Void                                                                     0.00                  0.00                       0.00   FA
     Asset entered by mistake, and was part of accounts receivable
     asset number 5.
23   Insurance Refund (u)                                                    49.19                49.19                      49.19    FA

24   Fraudulent Transfer Lawsuit Against Blue Water Cafe (u)            320,239.98           320,239.98                        0.00   FA
     Adv Case #18-01188 - Default judgment entered against the
     defendant in the amount of $320,239.98 on 10/26/18 at
     ECF#16 in the adversary proceeding.
25   Fraudulent Transfer Lawsuit against Marilyn Lohan (u)               30,000.00             3,000.00                    3,000.00   FA
     Adv. Case No.: 18-01185 - Settled per court order entered at
     ECF#419 in main case. Settlement paid in full.
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26   Fraudulent Transfer Lawsuit against Social Quotient, Inc. (u)      224,000.00           224,000.00                  25,000.00   FA
     Adv. Case No.: 18-01177 - Settled per court order entered at
     ECF#379 in the main case. Settlement paid in full.
27   Fraudulent Transfer Lawsuit against Scott Grodsky (u)              106,299.95           106,299.95                  15,000.00   FA
     Adv. Case No.: 18-01176 - Settled per court order entered at
     ECF#367 in main case. Settlement paid in full.
28   Fraudulent Transfer Lawsuit against Anthony Moschetto (u)           80,000.00            80,000.00                   7,500.00   FA
     Adv. Case No.: 18-01175 - Settled per court order entered at
     ECF#409 in main case. Settlement paid in full.
29   Fraudulent Transfer Lawsuit against Lynn Bertsch, individually     226,322.89           226,322.89                   5,000.00   FA
     and as PR of the Estate of Robert Bertsch (u)
     Adv. Case No.: 18-01174 - Settled per court order entered at
     ECF#369 in main case. Settlement paid in full.
30   Void                                                                     0.00                 0.00                       0.00   FA
     Asset created in error, and was part of accounts receivable
     asset number #5.
31   Fraudulent Transfer Lawsuit against Sage Market Advisors,          510,620.84           510,620.84                  17,681.46           0.00
     LLC, Jeffrey Chicola and Carmen Chicola (u)
     Adv. Case No: 18-01172 - Default judgment entered against all
     defendants in the amount of $510,000.00 on 10/26/18 at
     ECF#16 in the adversary proceeding.

     This and a number of other final judgments were sold for a total
     sum of $37,500.00. See case note 4 below for details of the
     final judgment sale and the formula for the 3.466953% pro-rata
     allocation of the $37,500.00 purchase price to each judgment.
     Accordingly, $17,681.46 of the sale price has been allocated to
     this judgment.
32   Fraudulent Transfer Lawsuit against John Suprock, Laurie           490,161.22           490,161.22                  99,999.92   FA
     Suprock, PCS Business Brokers, LLC and PCS Advisors, LLC
     (u)
     Adv. Case No.: 18-01171 - Settled per court order entered at
     ECF#362 in main case. Settlement paid in full.
33   Fraudulent Transfer Lawsuit against Joseph Czulada (u)              65,424.12            65,424.12                   2,268.22           0.00
     Adv Case #18-01167 - Default judgment entered against the
     defendant in the amount of $65,424.12 on 10/26/18 at ECF#16
     in the adversary proceeding.

     This and a number of other final judgments were sold for a total
     sum of $37,500.00. See case note 4 below for details of the
     final judgment sale and the formula for the 3.466953% pro-rata
     allocation of the $37,500.00 purchase price to each judgment.
     Accordingly, $2,268.22 of the sale price has been allocated to
     this judgment.
34   Void                                                                     0.00                 0.00                       0.00   FA
     Asset created in error, and was part of accounts receivable
     asset number #5.
35   2016 Workers Compensation Refund (u)                                  473.00               473.00                     473.00    FA

36   Charles Goldstein, Esq. Settlement (u)                              50,000.00            50,000.00                  50,000.00   FA
     Matter settled per order entered at ECF#382 in main case.
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     Settlement paid in full.
37   Fraudulent Transfer Lawsuit against Jake Gibson (u)                 42,018.20            42,018.20                  1,456.75           0.00
     Adv. Case No.: 18-01159 - Default judgment entered against
     the defendant in the amount of $42,018.20 on 10/26/18 at
     ECF#16 in the adversary proceeding.

     This and a number of other final judgments were sold for a total
     sum of $37,500.00. See case note 4 below for details of the
     final judgment sale and the formula for the 3.466953% pro-rata
     allocation of the $37,500.00 purchase price to each judgment.
     Accordingly, $1,456.75 of the sale price has been allocated to
     this judgment.
38   Fraudulent Transfer Lawsuit against First Step to Freedom (u)      158,000.00           158,000.00                      0.00   FA
     Adv. Case No.: 18-01160 - Default judgment entered against
     defendant in the amount of $158,000.00 on October 26, 2018 at
     ECF#16 in the adversary proceeding.
39   Fraudulent Transfer Lawsuit against Recovery Interventions (u)      47,500.00            47,500.00                      0.00   FA
     Adv. Case No.: 18-01161 - Default judgment entered against
     defendant in the amount of $37,500.00 on 10/26/18 at ECF#17
     in the adversary proceeding.
40   Fraudulent Transfer Lawsuit against Simply 180 (u)                  50,000.00            50,000.00                  7,500.00   FA
     Adv. Case No.: 18-01162 - Settled per court order entered at
     ECF#403 in main case. Settlement paid in full.
41   Fraudulent Transfer Lawsuit against Recovery Consulting             97,500.00            97,500.00                      0.00   FA
     Network (u)
     Adv. Case No.: 18-01164 - Default judgment entered against
     defendant in the amount of $97,500.00 on 10/26/18 at ECF#15
     in the adversary proceeding.
42   Fraudulent Transfer Lawsuit against Universal Branding              30,000.00            30,000.00                      0.00   FA
     Solutions (u)
     Included in settlement set forth in asset 14 above.
43   Fraudulent Transfer Lawsuit against Patrick Norquist (u)            45,000.00            45,000.00                  1,560.13           0.00
     Adv. Case No.:18-01166 - Default judgment entered against
     defendant in the amount of $45,000.00 10/26/18 at ECF#16 in
     the adversary proceeding.

     This and a number of other final judgments were sold for a total
     sum of $37,500.00. See case note 4 below for details of the
     final judgment sale and the formula for the 3.466953% pro-rata
     allocation of the $37,500.00 purchase price to each judgment.
     Accordingly, $1,560.13 of the sale price has been allocated to
     this judgment.
44   Fraudulent transfer lawsuit against Jose Ramon Morales, Adv.             0.00           242,251.04                      0.00   FA
     Case No. 18-01135 (u)
     Adv. Case No.: 18-01135 - Default judgment entered at
     ECF#43. Defendant filed chapter 7 bankruptcy (19-23671-EPK)
     and received a discharge of the judgment on 1/22/2020
     (DE#17).
45   Fraudulent transfer lawsuit against Phreedom Recovery &              7,500.00             7,500.00                  1,768.15           0.00
     Dicirucio (u)
     Pre-suit settlement approved per court order entered at
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                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
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        ECF#420 in main case. Settling parties defaulted and lawsuit
        filed on 10/21/20. Adv. Case No.: 20-01379 - Default judgment
        entered against all defendants in the amount of $51,000.00 on
        10/26/2018 at ECF#22 in the adversary proceeding.

        This and a number of other final judgments were sold for a total
        sum of $37,500.00. See case note 4 below for details of the
        final judgment sale and the formula for the 3.466953% pro-rata
        allocation of the $37,500.00 purchase price to each judgment.
        Accordingly, $1,768.15 of the sale price has been allocated to
        this judgment.
  46    Fraudulent transfer lawsuit against Healing Group Consultants                  3,500.00                         3,500.00                                         3,500.00          FA
        (u)
        Adv. Case No.: 18-00158. Settled per court order entered at
        DE#430 in main case. Settlement paid in full.
  47    Tom McLaughlin III potential & contingent claim (u)                            Unknown                              0.00                                             0.00          FA
        Asset added in amended schedules filed at ECF#155. Debtor's
        principal James Coleman is not aware of any claims against
        this individual and does not know why he was added to
        schedules.
  48    TD Bank Account #4760 (u)                                                      8,680.58                         8,680.58                                         8,680.58          FA

  49    Coleman Group Settlement (u)                                                  50,000.00                        50,000.00                                        20,000.00               30,000.00
        Settled pre-suit per court order entered at ECF#469 in main
        case. See Note 3 below.
TOTALS (Excluding Unknown Values)                                                 $7,221,437.25                  $10,151,043.36                                      $599,243.62            $30,000.00
Major activities affecting case closing:
CBD: 1/25/17 - Reviewed and objections in process

TAX RETURN STATUS: CPA RETAINED T0 FILE ALL NECESSARY RETURNS

THIS CASE IS JOINTLY ADMINISTERED WITH #16-16073 AND #16-16074 PER ORDER ECF#12. THE TRUSTEE FILED A REPORT OF NO DISTRIBUTION IN FIREBIRD RENEWAL LLC CASE (16
-16074-PDR) ON FEBRUARY 27, 2022 (ECF#64). THE TRUSTEE WILL FILE A REPORT OF NO DISTRIBUTION IN DREAM INTERNATIONAL HOLDINGS LLC AFTER ALL MONIES ARE
COLLECTED IN THIS CASE AND THE FINAL CONSOLIDATED ESTATE TAX RETURN IS FILED WITH THE IRS.

Case Notes:

1. (Assets 14, 16, 17 and 18 are all defendants in Adversary #17-01417. The defendants were jointly and severally liable for any damages so the value of $1,061,800 has been reflected beside each
asset, however, the total amount at issue is only $1,061.80. Adversary case settled per Order entered at ECF#396 in the main case and all proceeds were allocated to Asset #14.

2. (Asset #15) Trustee settled with all defendants for $10,000.00 except Brett Hirsch. A final judgment was entered against Brett Hirsch in the amount of $111,625.00 on 2/24/21.

3. (Asset #49) - Settlement with the "Coleman Group" consisting of James S. Coleman, Connie S.Y. Coleman, Lydia B. Coleman, Best Future Investment LLC, and Angel Capital Limited Partnership.
Coleman Group to pay estate $50,000 in 10 installments of $2,500 commencing 11/15/21 through 8/15/22, followed by a balloon payment of $25,000 on 9/15/22. The order approving settlement entered
at ECF#469 in the main case. Payments are current.

4. Sale of voidable transfer final judgments obtained by Trustee during pendency of bankruptcy case. The Trustee sold the following judgments to Titan Asset Purchasing, LLC ("Titan") for $37,500.00
which was approved by the Court at a hearing held on June 2, 2022. The Motion to approve sale is filed at ECF#504. The order approving the sale of the final judgments was entered at ECF#512. The
$37,500.00 purchase price has been paid to the Trustee. The final judgments and corresponding asset numbers sold are as follows:

1. Asset #15 - Final judgment against Brett Hirsch in the amount of $111,625.00;
2. Assets #20 - Final judgment against Calm Trust, LLC and Michael Lohan jointly and severally in the amount of $256,574.24;
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                                                                                  FORM 1                                                                                                         Page: 6
                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
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3. Asset #31 - Final judgment against Sage Market Advisors, Michael Chicola and Carmen Chicola, jointly and severally in the amount of $510,000.00;
4. Asset #33 - Final judgment against Joseph W. Czulada in the amount of $65,424.12;
5. Asset #37 - Final judgment against Jake Gibson in the amount of $42,018.20;
6. Asset #43 - Final judgment against Patrick J. Norquist in the amount of $45,000.00; and
7. Asset #45 - Final judgment against Phreedom Recovery, LLC and George Dicirucio, jointly and severally in the amount of $51,000.00.

The Trustee has applied the funds pro-rata to each of the judgments and the amount will be reflected in the asset related to the adversary proceeding in which the judgment was entered. The final
judgments sold total $1,081,641.56. The $37,500.00 purchase price represents 3.466953% of the total judgment amount and the pro-rata allocation of the $37,500.00 purchase price to each final
judgment will be based on that percentage. There is a separate note with the pro-rata calculation in each asset.

Initial Projected Date of Final Report (TFR): July 30, 2019                                           Current Projected Date of Final Report (TFR): June 30, 2023
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                                                      Cash Receipts and Disbursements Record
Case Number:          16-16068 PDR                                                               Trustee:                Chad S. Paiva
Case Name:            Dream Recovery International LLC                                           Bank Name:              Signature Bank
                                                                                                 Account:                ******2798 - Checking
Taxpayer ID#:         ******6802                                                                 Blanket Bond:           $53,950,000.00 (per case limit)
Period:               07/01/21 - 06/30/22                                                        Separate Bond:          N/A

   1            2                      3                                        4                                                 5                    6                   7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $            Account Balance

10/03/16   Asset #48 TD BANK                             Proceeds from Closing bank account                 1229-000               8,680.58                                    8,680.58

10/03/16   Asset #3   Wells Fargo Bank, N.A.             Bank Acct ending in 0429                           1229-000               2,094.00                               10,774.58

10/03/16   Asset #3   Wells Fargo Bank, N.A.             Bank acct ending in 1623                           1229-000                  384.53                              11,159.11

10/03/16   Asset #3   Wells Fargo Bank, N.A.             Bank acct ending in 1334                           1229-000                  126.70                              11,285.81

10/03/16   Asset #3   Wells Fargo Bank, N.A.             Bank acct ending in 7886                           1229-000                  710.00                              11,995.81

10/31/16              Signature Bank                     Bank and Technology Services Fee                   2600-000                                        20.65         11,975.16

11/01/16   Asset #5   Inspira Health Network             Account receivable                                 1121-000                  596.00                              12,571.16

11/17/16     1001     Chad S. Paiva                      Per Order DE#202 (reimbursement for                3120-002                                       645.54         11,925.62
                                                         storage)

11/29/16     1002     Public Storage                     Rent for December 2016 - Per Order DE#202          2410-000                                       324.52         11,601.10

11/30/16              Signature Bank                     Bank and Technology Services Fee                   2600-000                                        23.07         11,578.03

12/30/16              Signature Bank                     Bank and Technology Services Fee                   2600-000                                        21.45         11,556.58

01/05/17     1003     PUBLIC STORAGE                     UNIT 0946 - JANUARY 2017 RENT - PER                2410-000                                       324.52         11,232.06
                                                         ORDER DE#202

01/17/17              AUCTION AMERICA, INC.              Per Notice of Auction Sale DE#194                                        23,200.00                               34,432.06

01/17/17   Asset #8                                      Per Notice of Auction Sale              11,700.00 1129-000                                                       34,432.06
                                                         ECF#194
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                                                                       Form 2                                                                                                   Page: 2

                                                       Cash Receipts and Disbursements Record
Case Number:           16-16068 PDR                                                               Trustee:                Chad S. Paiva
Case Name:             Dream Recovery International LLC                                           Bank Name:              Signature Bank
                                                                                                  Account:                ******2798 - Checking
Taxpayer ID#:          ******6802                                                                 Blanket Bond:           $53,950,000.00 (per case limit)
Period:                07/01/21 - 06/30/22                                                        Separate Bond:          N/A

   1            2                       3                                        4                                                 5                    6                   7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements         Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                    $            Account Balance

01/17/17   Asset #10                                      Per Notice of Auction Sale              11,500.00 1129-000                                                       34,432.06
                                                          DE#194

01/26/17     1004      Kipu Systems, LLC                  Per Order DE#244 - patient records                 2990-000                                       900.00         33,532.06

01/31/17               Signature Bank                     Bank and Technology Services Fee                   2600-000                                        42.37         33,489.69

02/02/17     1005      PUBLIC STORAGE                     UNIT 0946 - FEBRUARY 2017 RENT - PER               2410-000                                       324.52         33,165.17
                                                          ORDER DE#202

02/14/17   Asset #23 AFCO                                 refund insurance premium                           1229-000                  49.19                               33,214.36

02/28/17               Signature Bank                     Bank and Technology Services Fee                   2600-000                                        57.45         33,156.91

03/01/17     1006      PUBLIC STORAGE                     Rent: March 2017 - Per Order DE#202                2410-000                                       324.52         32,832.39

03/21/17     1007      PUBLIC STORAGE                     April 2017 rent - Unit 0946 - per Order DE#202     2410-000                                       324.52         32,507.87

03/31/17               Signature Bank                     Bank and Technology Services Fee                   2600-000                                        62.92         32,444.95

04/26/17     1008      PUBLIC STORAGE                     May 2017 rent - Unit 0946 - Per Order DE#202       2410-000                                       324.52         32,120.43

04/28/17               Signature Bank                     Bank and Technology Services Fee                   2600-000                                        56.00         32,064.43

05/16/17     1009      PUBLIC STORAGE                     June 2017 rent - Unit 0946 - Per Order DE#202      2410-000                                       324.52         31,739.91

05/31/17               Signature Bank                     Bank and Technology Services Fee                   2600-000                                        65.15         31,674.76

06/29/17     1010      PUBLIC STORAGE                     July 2017 rent - per order DE#279                  2410-000                                       363.82         31,310.94
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                                                      Cash Receipts and Disbursements Record
Case Number:          16-16068 PDR                                                                Trustee:                Chad S. Paiva
Case Name:            Dream Recovery International LLC                                            Bank Name:              Signature Bank
                                                                                                  Account:                ******2798 - Checking
Taxpayer ID#:         ******6802                                                                  Blanket Bond:           $53,950,000.00 (per case limit)
Period:               07/01/21 - 06/30/22                                                         Separate Bond:          N/A

   1            2                      3                                         4                                                 5                    6                    7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements          Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                    $             Account Balance

06/30/17              Signature Bank                     Bank and Technology Services Fee                    2600-000                                        58.58          31,252.36

07/18/17     1011     PUBLIC STORAGE                     August 2017 rent - Unit 0946 - per Order            2410-000                                       363.82          30,888.54
                                                         DE#279; Stopped on 08/08/2017

07/31/17              Signature Bank                     Bank and Technology Services Fee                    2600-000                                        55.94          30,832.60

08/02/17     1012     GREENSPOON MARDER, PA.             Per Order DE#289 - Adm. Services retainer -         3110-000                                   7,500.00            23,332.60
                                                         collection of acct receivables (special counsel)

08/08/17     1011     PUBLIC STORAGE                     August 2017 rent - Unit 0946 - per Order            2410-000                                       -363.82         23,696.42
                                                         DE#279; Stopped: Check issued on
                                                         07/18/2017

08/08/17     1013     PUBLIC STORAGE                     August 2017 rent - Unit 0946 - Per Order            2410-000                                       363.82          23,332.60
                                                         DE#279

08/21/17     1014     PUBLIC STORAGE                     Sept 2017 rent - Unit 0946 - Per DE#279             2410-000                                       363.82          22,968.78

08/31/17              Signature Bank                     Bank and Technology Services Fee                    2600-000                                        55.58          22,913.20

09/18/17     1015     PUBLIC STORAGE                     Oct 2017 rent - Unit 0946 - Per DE#279              2410-000                                       363.82          22,549.38

09/29/17              Signature Bank                     Bank and Technology Services Fee                    2600-000                                        40.96          22,508.42

10/18/17     1016     PUBLIC STORAGE                     Nov 2017 rent - Unit 0946 - Per DE#379              2410-000                                       363.82          22,144.60

10/31/17              Signature Bank                     Bank and Technology Services Fee                    2600-000                                        44.49          22,100.11

11/15/17     1017     PUBLIC STORAGE                     DEC 2017 RENT - UNIT 0946 - Per DE#379              2410-000                                       363.82          21,736.29
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                                                      Cash Receipts and Disbursements Record
Case Number:          16-16068 PDR                                                               Trustee:                Chad S. Paiva
Case Name:            Dream Recovery International LLC                                           Bank Name:              Signature Bank
                                                                                                 Account:                ******2798 - Checking
Taxpayer ID#:         ******6802                                                                 Blanket Bond:           $53,950,000.00 (per case limit)
Period:               07/01/21 - 06/30/22                                                        Separate Bond:          N/A

   1            2                      3                                         4                                                5                    6                   7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $            Account Balance

11/30/17              Signature Bank                     Bank and Technology Services Fee                   2600-000                                        41.03         21,695.26

12/18/17     1018     PUBLIC STORAGE                     JAN 2018 RENT - UNIT 0946 PER DE#379               2410-000                                       363.82         21,331.44

12/29/17              Signature Bank                     Bank and Technology Services Fee                   2600-000                                        38.94         21,292.50

01/23/18     1019     PUBLIC STORAGE                     FEB 2018 Rent - Unit 0946 per DE#379               2410-000                                       363.82         20,928.68

01/31/18              Signature Bank                     Bank and Technology Services Fee                   2600-000                                        43.29         20,885.39

02/21/18     1020     PUBLIC STORAGE                     MARCH 2018 RENT - UNIT 0946 PER DE#379 2410-000                                                   363.82         20,521.57

02/28/18              Signature Bank                     Bank and Technology Services Fee                   2600-000                                        36.03         20,485.54

03/12/18   Asset #5   Blue Cross Blue Shield of          A/R Brandon Etheridge                              1121-000               1,700.00                               22,185.54
                      Alabama
03/14/18     1021     PUBLIC STORAGE                     April 2018 rent - Unit 0946 Per DE#379             2410-000                                       363.82         21,821.72

03/30/18              Signature Bank                     Bank and Technology Services Fee                   2600-000                                        39.77         21,781.95

04/26/18     1022     PUBLIC STORAGE                     May 2018 rent - Unit 0946 Per DE#379               2410-000                                       363.82         21,418.13

04/30/18              Signature Bank                     Bank and Technology Services Fee                   2600-000                                        41.74         21,376.39

05/17/18     1023     PUBLIC STORAGE                     June 2018 rent - Unit 0946 Per DE#379              2410-000                                       363.82         21,012.57

05/31/18              Signature Bank                     Bank and Technology Services Fee                   2600-000                                        41.03         20,971.54

06/26/18   Asset #5   EMPIRE BLUECROSS                   Per Order DE#341                                   1121-000               2,500.00                               23,471.54
                      BLUESHIELD                         Member name: Terjee Kristiansen
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                                                      Cash Receipts and Disbursements Record
Case Number:          16-16068 PDR                                                               Trustee:                Chad S. Paiva
Case Name:            Dream Recovery International LLC                                           Bank Name:              Signature Bank
                                                                                                 Account:                ******2798 - Checking
Taxpayer ID#:         ******6802                                                                 Blanket Bond:           $53,950,000.00 (per case limit)
Period:               07/01/21 - 06/30/22                                                        Separate Bond:          N/A

   1            2                      3                                        4                                                 5                    6                   7

 Trans.    Check or                                                                                          Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                    $            Account Balance

06/26/18   Asset #5   EMPIRE BLUECROSS                   Per Order DE#341                                   1121-000              20,400.00                               43,871.54
                      BLUESHIELD                         Member Name: Eliana Rocha

06/26/18     1024     PUBLIC STORAGE                     July 2018 rent - Unit 0946 per DE#379              2410-000                                       363.82         43,507.72

06/26/18     1025     GREENSPOON MARDER, LLP             Contingent fee Per Order DE#341                    3110-000                                   7,632.57           35,875.15

06/26/18     1026     GREENSPOON MARDER, LLP             Costs per Order DE#341                             3120-000                                       221.00         35,654.15

06/29/18              Signature Bank                     Bank and Technology Services Fee                   2600-000                                        41.86         35,612.29

07/24/18     1027     PUBLIC STORAGE                     AUGUST 2018 Rent - Unit 0946 Per DE#346            2410-000                                       422.98         35,189.31

07/24/18     1028     Chad S. Paiva                      Reimbursement for 7-2018 rent per Order            2420-000                                        59.16         35,130.15
                                                         DE#346

07/31/18              Signature Bank                     Bank and Technology Services Fee                   2600-000                                        73.73         35,056.42

08/21/18     1029     PUBLIC STORAGE                     Sept 2018 Rent - Unit 0946 Per Order DE#346        2410-000                                       422.98         34,633.44

08/31/18              Signature Bank                     Bank and Technology Services Fee                   2600-000                                        66.91         34,566.53

09/20/18     1030     PUBLIC STORAGE                     Oct 2018 rent - Unit 0946 - Order DE#346           2410-000                                       422.98         34,143.55

09/25/18   Asset #5   Medical Mutual                     Per Order DE#352                                   1121-000               3,000.00                               37,143.55

09/28/18              Signature Bank                     Bank and Technology Services Fee                   2600-000                                        60.22         37,083.33

10/04/18     1031     Greenspoon Marder LLP              cont. fee per order DE#352 (special counsel)       3110-000                                   1,000.00           36,083.33
                                             Case 16-16068-PDR             Doc 517         Filed 07/11/22          Page 12 of 26

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                                                      Cash Receipts and Disbursements Record
Case Number:          16-16068 PDR                                                                Trustee:                Chad S. Paiva
Case Name:            Dream Recovery International LLC                                            Bank Name:              Signature Bank
                                                                                                  Account:                ******2798 - Checking
Taxpayer ID#:         ******6802                                                                  Blanket Bond:           $53,950,000.00 (per case limit)
Period:               07/01/21 - 06/30/22                                                         Separate Bond:          N/A

   1            2                      3                                         4                                                 5                    6                   7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                    $            Account Balance

10/04/18     1032     Greenspoon Marder LLP              expenses Per Order DE#352 (special counsel)         3120-000                                       221.00         35,862.33

10/25/18     1033     PUBLIC STORAGE                     Nov 2018 Rent - Unit 0948                           2410-000                                       422.98         35,439.35
                                                         Per Order DE#346

10/31/18              Signature Bank                     Bank and Technology Services Fee                    2600-000                                        73.89         35,365.46

11/20/18     1034     PUBLIC STORAGE                     Dec 2018 rent - Unit 0946 -                         2410-000                                       422.98         34,942.48
                                                         Per Order DE#346

11/30/18              Signature Bank                     Bank and Technology Services Fee                    2600-000                                        65.56         34,876.92

12/28/18     1035     PUBLIC STORAGE                     Per Order DE#346 - Unit 946 - Jan 2019 rent         2410-000                                       422.98         34,453.94

12/31/18              Signature Bank                     Bank and Technology Services Fee                    2600-000                                        66.75         34,387.19

01/24/19     1036     PUBLIC STORAGE                     Unit 946 - Feb 2019 rent                            2410-000                                       422.98         33,964.21
                                                         Per Order DE#346

01/31/19              Signature Bank                     Bank and Technology Services Fee                    2600-000                                        68.07         33,896.14

02/12/19   Asset #35 Michigan Commercial Insurance       refund 2016 workers compensation insurance          1229-000                  473.00                              34,369.14
                     Mutual
02/28/19              Signature Bank                     Bank and Technology Services Fee                    2600-000                                        59.10         34,310.04

03/04/19     1037     PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       422.98         33,887.06
                                                         Unit 946 per ECF#346.

03/29/19              Signature Bank                     Bank and Technology Services Fee                    2600-000                                        60.73         33,826.33
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                                                      Cash Receipts and Disbursements Record
Case Number:          16-16068 PDR                                                                Trustee:                Chad S. Paiva
Case Name:            Dream Recovery International LLC                                            Bank Name:              Signature Bank
                                                                                                  Account:                ******2798 - Checking
Taxpayer ID#:         ******6802                                                                  Blanket Bond:           $53,950,000.00 (per case limit)
Period:               07/01/21 - 06/30/22                                                         Separate Bond:          N/A

   1            2                      3                                         4                                                 5                    6                   7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                    $            Account Balance

04/03/19              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       417.36         33,408.97
                                                         Unit 946 per ECF#346.

04/24/19   Asset #29 Geneovese Joblove & Battista        DE#369 Order approving settlement between           1241-000               5,000.00                               38,408.97
                                                         Trustee and Robert A. Bertsch. Adv. 18-01174

04/30/19              Signature Bank                     Bank and Technology Services Fee                    2600-000                                        67.88         38,341.09

05/01/19   Asset #27 2386 Hempstead, Inc.                DE#376 Order approving settlement between           1241-000              15,000.00                               53,341.09
                                                         Trustee and Scott Grodsky. Adv. 18-01176.

05/06/19              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       422.59         52,918.50
                                                         Unit 946 per ECF#346.

05/31/19              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       100.36         52,818.14

06/11/19   Asset #5   Medova Healthcare Financial        DE#378 Order entered approving settlement           1121-000               9,000.00                               61,818.14
                                                         between Trustee and Medova for $9,000.00
                                                         (Account Receivable).

06/11/19     1038     Greenspoon Marder LLP              DE#378 - Order approving Medova settlement                                                     3,571.00           58,247.14
                                                         and payment of GM contingency fee and costs.
                                                         ;   Voided on 06/11/2019

06/11/19              Greenspoon Marder LLP              DE#378 - Order approving                    571.00 3220-000                                                       58,247.14
                                                         Medova settlement and
                                                         payment of GM contingency
                                                         fee and costs. (special
                                                         counsel)
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                                                      Cash Receipts and Disbursements Record
Case Number:          16-16068 PDR                                                                Trustee:                Chad S. Paiva
Case Name:            Dream Recovery International LLC                                            Bank Name:              Signature Bank
                                                                                                  Account:                ******2798 - Checking
Taxpayer ID#:         ******6802                                                                  Blanket Bond:           $53,950,000.00 (per case limit)
Period:               07/01/21 - 06/30/22                                                         Separate Bond:          N/A

   1            2                     3                                          4                                                 5                    6                  7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements        Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                    $           Account Balance

06/11/19              Greenspoon Marder LLP              DE#378 - Order approving                  3,000.00 3210-000                                                      58,247.14
                                                         Medova settlement and
                                                         payment of GM contingency
                                                         fee and costs. (special
                                                         counsel)

06/11/19     1038     Greenspoon Marder LLP              DE#378 - Order approving Medova settlement                                                     -3,571.00         61,818.14
                                                         and payment of GM contingency fee and costs.
                                                         ;   Voided: Check issued on 06/11/2019

06/11/19              Greenspoon Marder LLP              DE#378 - Order approving                   -571.00 3220-000                                                      61,818.14
                                                         Medova settlement and
                                                         payment of GM contingency
                                                         fee and costs. (special
                                                         counsel)

06/11/19              Greenspoon Marder LLP              DE#378 - Order approving                  -3,000.00 3210-000                                                     61,818.14
                                                         Medova settlement and
                                                         payment of GM contingency
                                                         fee and costs. (special
                                                         counsel)

06/12/19     1039     Greenspoon Marder LLP              DE#378 Order approving Medova settlement                                                       3,571.00          58,247.14
                                                         and payment of contingency fee/costs to
                                                         special counsel Greenspoon Marder

06/12/19              Greenspoon Marder LLP              DE#378 Order approving                    3,000.00 3210-000                                                      58,247.14
                                                         Medova settlement and
                                                         payment of contingency
                                                         fee/costs to special counsel
                                                         Greenspoon Marder
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                                                      Cash Receipts and Disbursements Record
Case Number:          16-16068 PDR                                                                Trustee:                Chad S. Paiva
Case Name:            Dream Recovery International LLC                                            Bank Name:              Signature Bank
                                                                                                  Account:                ******2798 - Checking
Taxpayer ID#:         ******6802                                                                  Blanket Bond:           $53,950,000.00 (per case limit)
Period:               07/01/21 - 06/30/22                                                         Separate Bond:          N/A

   1            2                      3                                         4                                                 5                    6                   7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                    $            Account Balance

06/12/19              Greenspoon Marder LLP              DE#378 Order approving                      571.00 3220-000                                                       58,247.14
                                                         Medova settlement and
                                                         payment of contingency
                                                         fee/costs to special counsel
                                                         Greenspoon Marder

06/12/19              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       422.59         57,824.55
                                                         Unit 946 per ECF#346

06/28/19              Signature Bank                     Bank and Technology Services Fee                    2600-000                                        97.84         57,726.71

07/03/19              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       466.34         57,260.37
                                                         Unit 946 per ECF#346.

07/13/19   Asset #36 Genovese Joblove & Battista, PA     DE#382 Order approving settlement with              1241-000              50,000.00                              107,260.37
                     Trust account                       Charles Goldstein, Esq. and the Law Offices of
                                                         Charles Goldstein P.C.

07/13/19   Asset #32 Genovese Joblove & Battista, PA     DE#362 Order approving settlement between           1241-000              72,916.62                              180,176.99
                     Trust account                       Trustee and John Suprock, Laurie Suprock,
                                                         PCS Business Brokers LLC and PCS Advisors
                                                         LLC

07/31/19              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       257.62        179,919.37

08/06/19              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       466.34        179,453.03
                                                         Unit 946 per ECF#346.

08/10/19   Asset #40 Genovese Joblove & Battista, PA     Trustee's settlement with Simply 180 LLC per        1241-000               7,500.00                              186,953.03
                     Trust account                       ECF#403
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                                                      Cash Receipts and Disbursements Record
Case Number:          16-16068 PDR                                                                Trustee:                Chad S. Paiva
Case Name:            Dream Recovery International LLC                                            Bank Name:              Signature Bank
                                                                                                  Account:                ******2798 - Checking
Taxpayer ID#:         ******6802                                                                  Blanket Bond:           $53,950,000.00 (per case limit)
Period:               07/01/21 - 06/30/22                                                         Separate Bond:          N/A

   1            2                      3                                         4                                                 5                    6                   7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                    $            Account Balance

08/29/19   Asset #26 Genovese Joblove & Battista, PA     DE#379 Order approving settlement between           1241-000              25,000.00                              211,953.03
                     Trust account                       Trustee and Social Quotient.

08/30/19              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       341.87        211,611.16

09/05/19              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       466.34        211,144.82
                                                         Unit 946 per ECF#346.

09/25/19   Asset #32 Genovese Joblove & Battista, PA     DE#362 Order approving settlement between           1241-000              10,833.32                              221,978.14
                     Trust account                       Trustee and John Suprock, Laurie Suprock,
                                                         PCS Business Brokers LLC and PCS Advisors
                                                         LLC
                                                         (Adv 18-01171)

09/30/19              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       406.97        221,571.17

10/03/19              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       466.34        221,104.83
                                                         Unit 946 per ECF#346.

10/25/19   Asset #32 Genovese Joblove & Battista, PA     DE#362 Order approving settlement between           1241-000               5,416.66                              226,521.49
                     Trust account                       Trustee and Suprock. (Adv 18-01171)

10/31/19              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       450.98        226,070.51

11/05/19              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       466.34        225,604.17
                                                         Unit 946 per ECF#346.

11/14/19   Asset #32 Genovese Joblove & Battista, PA     DE#362 Order approving settlement between           1241-000               5,416.66                              231,020.83
                     Trust account                       Trustee and Suprock et. al. (Adv 18-01171)

11/29/19              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       408.46        230,612.37
                                             Case 16-16068-PDR             Doc 517         Filed 07/11/22          Page 17 of 26

                                                                      Form 2                                                                                                    Page: 11

                                                      Cash Receipts and Disbursements Record
Case Number:          16-16068 PDR                                                                Trustee:                Chad S. Paiva
Case Name:            Dream Recovery International LLC                                            Bank Name:              Signature Bank
                                                                                                  Account:                ******2798 - Checking
Taxpayer ID#:         ******6802                                                                  Blanket Bond:           $53,950,000.00 (per case limit)
Period:               07/01/21 - 06/30/22                                                         Separate Bond:          N/A

   1            2                      3                                         4                                                 5                    6                   7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                    $            Account Balance

11/30/19   Asset #32 Genovese Joblove & Battista, PA     DE#362 Order approving settlement between           1241-000               5,416.66                              236,029.03
                     Trust account                       the Trustee and Suprock. (Adv 18-01171)

12/04/19              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       466.34        235,562.69
                                                         Unit 946 per ECF#346.

12/31/19              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       463.79        235,098.90

01/07/20              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       465.50        234,633.40
                                                         Unit 946 per ECF#346.

01/31/20              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       447.33        234,186.07

02/04/20              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       465.50        233,720.57
                                                         Unit 946 per ECF#346.

02/28/20              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       402.42        233,318.15

03/03/20              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       465.50        232,852.65
                                                         Unit 946 per ECF#346.

03/05/20   Asset #14 Genovese Joblove & Battista, PA     DE#396 Order approving settlement between           1129-000            239,662.70                               472,515.35
                     Trust account                       Trustee and Frankel, CB Harrison, Boca
                                                         Palms, Bey and Bey Holdings. (Adv 17-01417)

03/17/20   Asset #25 Marilyn Lohan                       DE#419 - Order approving settlement between         1241-000                  300.00                             472,815.35
                                                         Trustee and Marilyn Lohan. (Adv 18-01185)
                                                         Payment to A/R Account #Lohan Dream
                                                         Recovery; Payment #1 due 03/20/2020
03/31/20              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       797.31        472,018.04
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                                                      Cash Receipts and Disbursements Record
Case Number:          16-16068 PDR                                                                Trustee:                Chad S. Paiva
Case Name:            Dream Recovery International LLC                                            Bank Name:              Signature Bank
                                                                                                  Account:                ******2798 - Checking
Taxpayer ID#:         ******6802                                                                  Blanket Bond:           $53,950,000.00 (per case limit)
Period:               07/01/21 - 06/30/22                                                         Separate Bond:          N/A

   1            2                      3                                         4                                                 5                    6                   7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                    $            Account Balance

04/03/20              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       465.50        471,552.54
                                                         Unit 946 per ECF#346.

05/01/20              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       869.81        470,682.73

05/03/20   Asset #15 Genovese Joblove & Battista, PA     DE#416 Amended Order approving settlement           1129-000              10,000.00                              480,682.73
                     Trust account                       between Trustee and Deam Years/Youngswick
                                                          parties (Adv 18-01122)

05/06/20              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       465.50        480,217.23
                                                         Unit 946 per ECF#346.

05/10/20   Asset #28 Anthony Moschetto                   DE#409 Order approving settlement between           1241-000               3,750.00                              483,967.23
                                                         Trustee and Moschetto. (Adv 18-01175)

05/16/20   Asset #25 Marilyn Lohan                       DE#419 Order approving settlement between           1241-000                  300.00                             484,267.23
                                                         Trustee and Marilyn Lohan. (Adv 18-01185)
                                                         Payment to A/R Account #Lohan Dream
                                                         Recovery; Payment #2 due 04/20/2020
05/29/20              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       858.22        483,409.01

06/04/20              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       465.50        482,943.51
                                                         Unit 946 per ECF#346.

06/06/20   Asset #28 Anthony Moschetto                   DE#409 Order approving settlement between           1241-000               3,750.00                              486,693.51
                                                         Trustee and Anthony Moschetto. (Adv 18-
                                                         01175)

06/06/20   Asset #25 Marilyn Lohan                       DE#419 - Order approving settlement between         1241-000                  300.00                             486,993.51
                                                         Trustee and Marilyn Lohan. (Adv 18-01185)
                                                         Payment to A/R Account #Lohan Dream
                                                         Recovery; Payment #3 due 05/20/2020
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                                                      Cash Receipts and Disbursements Record
Case Number:          16-16068 PDR                                                                Trustee:                Chad S. Paiva
Case Name:            Dream Recovery International LLC                                            Bank Name:              Signature Bank
                                                                                                  Account:                ******2798 - Checking
Taxpayer ID#:         ******6802                                                                  Blanket Bond:           $53,950,000.00 (per case limit)
Period:               07/01/21 - 06/30/22                                                         Separate Bond:          N/A

   1            2                      3                                         4                                                 5                    6                   7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                    $            Account Balance

06/30/20              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       828.25        486,165.26

07/03/20              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       491.06        485,674.20
                                                         Unit 946 per ECF#346.

07/04/20   Asset #25 Marilyn Lohan                       DE#419 Order approving settlement between           1241-000                  300.00                             485,974.20
                                                         Trustee and Marilyn Lohan.
                                                         Payment to A/R Account #Lohan Dream
                                                         Recovery; Payment #4 due 06/20/2020
07/16/20   Asset #46 Healing Group Consultants LLC       DE#430 Order approving settlement between           1241-000               3,500.00                              489,474.20
                                                         Trustee and Healing Group.

07/31/20              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       805.43        488,668.77

08/04/20   Asset #25 Marilyn Lohan                       DE#419 Order approving settlement between           1241-000                  300.00                             488,968.77
                                                         Trustee and Marilyn Lohan.
                                                         Payment to A/R Account #Lohan Dream
                                                         Recovery; Payment #5 due 07/20/2020
08/04/20              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       491.06        488,477.71
                                                         Unit 946 per ECF#346.

08/31/20              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       806.83        487,670.88

09/03/20              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       491.06        487,179.82
                                                         Unit 946 per ECF#346.

09/09/20   Asset #25 Marilyn Lohan                       DE#419 Order approving settlement between           1241-000                  300.00                             487,479.82
                                                         Trustee and Marilyn Lohan.
                                                         Payment to A/R Account #Lohan Dream
                                                         Recovery; Payment #6 due 08/20/2020
09/30/20              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       779.10        486,700.72
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                                                      Cash Receipts and Disbursements Record
Case Number:          16-16068 PDR                                                                Trustee:                Chad S. Paiva
Case Name:            Dream Recovery International LLC                                            Bank Name:              Signature Bank
                                                                                                  Account:                ******2798 - Checking
Taxpayer ID#:         ******6802                                                                  Blanket Bond:           $53,950,000.00 (per case limit)
Period:               07/01/21 - 06/30/22                                                         Separate Bond:          N/A

   1            2                      3                                         4                                                 5                    6                   7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                    $            Account Balance

10/06/20              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       491.06        486,209.66
                                                         Unit 946 per ECF#346.

10/08/20   Asset #25 Marilyn Lohan                       DE#419 Order approving settlement between           1241-000                  300.00                             486,509.66
                                                         Trustee and Marilyn Lohan.
                                                         Payment to A/R Account #Lohan Dream
                                                         Recovery; Payment #7 due 09/20/2020
10/20/20     1040     KapilaMukamal                      DE#447 Order awarding interim fees and                                                        36,165.47          450,344.19
                                                         expenses to Kapila Mukamal

10/20/20              KapilaMukamal                      DE#447 Order awarding                    35,000.00 3410-000                                                      450,344.19
                                                         interim fees and expenses to
                                                         Kapila Mukamal

10/20/20              KapilaMukamal                      DE#447 Order awarding                     1,165.47 3420-000                                                      450,344.19
                                                         interim fees and expenses to
                                                         Kapila Mukamal

11/02/20              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       771.76        449,572.43

11/04/20              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       491.06        449,081.37
                                                         Unit 946 per ECF#346.

11/08/20   Asset #25 Marilyn Lohan                       DE#419 Order approving settlement between           1241-000                  300.00                             449,381.37
                                                         Trustee and Marilyn Lohan.
                                                         Payment to A/R Account #Lohan Dream
                                                         Recovery; Payment #8 due 10/20/2020
11/30/20              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       742.31        448,639.06

12/04/20              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       491.06        448,148.00
                                                         Unit 946 per ECF#346.
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                                                      Cash Receipts and Disbursements Record
Case Number:          16-16068 PDR                                                                Trustee:                Chad S. Paiva
Case Name:            Dream Recovery International LLC                                            Bank Name:              Signature Bank
                                                                                                  Account:                ******2798 - Checking
Taxpayer ID#:         ******6802                                                                  Blanket Bond:           $53,950,000.00 (per case limit)
Period:               07/01/21 - 06/30/22                                                         Separate Bond:          N/A

   1            2                      3                                         4                                                 5                    6                   7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                    $            Account Balance

12/08/20   Asset #25 Marilyn Lohan                       DE#419 Order approving settlement between           1241-000                  300.00                             448,448.00
                                                         Trustee and Marilyn Lohan.
                                                         Payment to A/R Account #Lohan Dream
                                                         Recovery; Payment #9 due 11/20/2020
12/31/20              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       740.62        447,707.38

01/05/21              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       491.06        447,216.32
                                                         Unit 946 per ECF#346.

01/21/21   Asset #25 Marilyn Lohan                       DE#419 Order approving settlement between           1241-000                  300.00                             447,516.32
                                                         the Trustee and Marilyn Lohan
                                                         Payment to A/R Account #Lohan Dream
                                                         Recovery; Payment #10 due 12/20/2020
01/21/21   Asset #20 Michael Lohan                       Default Final Judgment (DE#106) in Paiva v.         1129-000                  667.00                             448,183.32
                                                         Calm Trust, Adv. 18-01137-PDR

01/21/21   Asset #20 Michael Lohan                       Default Final Judgment (DE#106) in Paiva v.         1129-000               1,000.00                              449,183.32
                                                         Calm Trust, Adv. 18-01137-PDR

01/21/21   Asset #20 Michael Lohan                       Default Final Judgment (DE#106) in Paiva v.         1129-000               1,000.00                              450,183.32
                                                         Calm Trust, Adv. 18-01137-PDR

01/29/21              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       694.05        449,489.27

02/01/21              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       491.06        448,998.21
                                                         Unit 946 per ECF#346.

02/26/21              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       671.81        448,326.40

03/04/21              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       491.06        447,835.34
                                                         Unit 946 per ECF#346.
                                             Case 16-16068-PDR             Doc 517         Filed 07/11/22          Page 22 of 26

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                                                      Cash Receipts and Disbursements Record
Case Number:          16-16068 PDR                                                                Trustee:                Chad S. Paiva
Case Name:            Dream Recovery International LLC                                            Bank Name:              Signature Bank
                                                                                                  Account:                ******2798 - Checking
Taxpayer ID#:         ******6802                                                                  Blanket Bond:           $53,950,000.00 (per case limit)
Period:               07/01/21 - 06/30/22                                                         Separate Bond:          N/A

   1            2                      3                                         4                                                 5                    6                   7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                    $            Account Balance

03/31/21              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       813.66        447,021.68

04/05/21              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       491.06        446,530.62
                                                         Unit 946 per ECF#346.

04/30/21              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       715.80        445,814.82

05/04/21              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       491.06        445,323.76
                                                         Unit 946 per ECF#346.

05/28/21              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       666.26        444,657.50

06/22/21     1041     Genovese Joblove & Batista, P.A. DE#471 Order awarding GJB interim fees in                                                      233,008.01          211,649.49
                                                       the amount of $200,000.00 and reimbursement
                                                       of expenses in the amount of $33,008.01.

06/22/21              Genovese Joblove & Batista, P.A. DE#471 Order awarding GJB                  200,000.00 3210-000                                                     211,649.49
                                                       interim fees in the amount of
                                                       $200,000.00 and
                                                       reimbursement of expenses
                                                       in the amount of $33,008.01.

06/22/21              Genovese Joblove & Batista, P.A. DE#471 Order awarding GJB                   33,008.01 3220-000                                                     211,649.49
                                                       interim fees in the amount of
                                                       $200,000.00 and
                                                       reimbursement of expenses
                                                       in the amount of $33,008.01.

06/30/21              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       783.23        210,866.26

07/01/21              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       491.06        210,375.20
                                                         Unit 946 per ECF#346.
                                             Case 16-16068-PDR             Doc 517         Filed 07/11/22          Page 23 of 26

                                                                      Form 2                                                                                                    Page: 17

                                                      Cash Receipts and Disbursements Record
Case Number:          16-16068 PDR                                                                Trustee:                Chad S. Paiva
Case Name:            Dream Recovery International LLC                                            Bank Name:              Signature Bank
                                                                                                  Account:                ******2798 - Checking
Taxpayer ID#:         ******6802                                                                  Blanket Bond:           $53,950,000.00 (per case limit)
Period:               07/01/21 - 06/30/22                                                         Separate Bond:          N/A

   1            2                      3                                         4                                                 5                    6                   7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                    $            Account Balance

07/07/21              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       560.28        209,814.92
                                                         Unit 946 per ECF#346.

07/30/21              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       348.91        209,466.01

08/03/21              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       560.28        208,905.73
                                                         Unit 946 per ECF#346.

08/31/21              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       357.26        208,548.47

09/03/21              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       560.28        207,988.19
                                                         Unit 946 per ECF#346.

09/30/21              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       333.44        207,654.75

10/05/21              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       560.28        207,094.47
                                                         Unit 946 per ECF#346.

10/29/21              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       321.01        206,773.46

11/03/21              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       560.28        206,213.18
                                                         Unit 946 per ECF#346.

11/18/21   Asset #49 James Coleman                       DE#469 - Order approving settlement between         1241-000               2,500.00                              208,713.18
                                                         Trustee and Coleman Group. Stipulation at
                                                         DE#464.

11/30/21              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       354.29        208,358.89

12/06/21              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       560.28        207,798.61
                                                         Unit 946 per ECF#346.
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                                                      Cash Receipts and Disbursements Record
Case Number:          16-16068 PDR                                                                Trustee:                Chad S. Paiva
Case Name:            Dream Recovery International LLC                                            Bank Name:              Signature Bank
                                                                                                  Account:                ******2798 - Checking
Taxpayer ID#:         ******6802                                                                  Blanket Bond:           $53,950,000.00 (per case limit)
Period:               07/01/21 - 06/30/22                                                         Separate Bond:          N/A

   1            2                      3                                         4                                                 5                    6                   7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements         Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                    $            Account Balance

12/16/21   Asset #49 James Coleman                       DE#469 - Order approving settlement between         1241-000               2,500.00                              210,298.61
                                                         Trustee and Coleman Group. Stipulation at
                                                         DE#464.

12/31/21              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       346.20        209,952.41

01/05/22              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       560.28        209,392.13
                                                         Unit 946 per ECF#346.

01/22/22   Asset #49 James Coleman                       DE#469 Order approving settlement between           1241-000               2,500.00                              211,892.13
                                                         Trustee and Coleman parties.

01/31/22              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       347.87        211,544.26

02/04/22              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       560.28        210,983.98
                                                         Unit 946 per ECF#346.

02/16/22   Asset #49 James Coleman                       DE#469 Order approving settlement between           1241-000               2,500.00                              213,483.98
                                                         Trustee and Coleman parties.

02/28/22              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       317.20        213,166.78

03/04/22              PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       560.28        212,606.50
                                                         Unit 946 per ECF#346.

03/19/22   Asset #49 James Coleman                       DE#469 Order approving settlement between           1241-000               2,500.00                              215,106.50
                                                         Trustee and Coleman Group.

03/31/22              Signature Bank                     Bank and Technology Services Fee                    2600-000                                       353.43        214,753.07
                                              Case 16-16068-PDR             Doc 517         Filed 07/11/22          Page 25 of 26

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                                                       Cash Receipts and Disbursements Record
Case Number:           16-16068 PDR                                                                Trustee:                Chad S. Paiva
Case Name:             Dream Recovery International LLC                                            Bank Name:              Signature Bank
                                                                                                   Account:                ******2798 - Checking
Taxpayer ID#:          ******6802                                                                  Blanket Bond:           $53,950,000.00 (per case limit)
Period:                07/01/21 - 06/30/22                                                         Separate Bond:          N/A

   1            2                       3                                         4                                                 5                    6                   7

 Trans.    Check or                                                                                            Uniform           Receipts          Disbursements         Checking
  Date      Ref. #           Paid To / Received From                  Description of Transaction              Tran. Code            $                    $            Account Balance

04/05/22               PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       560.28        214,192.79
                                                          Unit 946 per ECF#346.

04/18/22   Asset #49 James Coleman                        DE#469 Order approving settlement between           1241-000               2,500.00                              216,692.79
                                                          the Trustee and Coleman Group.

04/29/22               Signature Bank                     Bank and Technology Services Fee                    2600-000                                       325.69        216,367.10

05/03/22               PUBLIC STORAGE                     Monthly auto debit for storage facility payment.    2410-000                                       560.28        215,806.82
                                                          Unit 946 per ECF#346.

05/21/22   Asset #49 James Coleman                        DE#469 Order approving settlement between           1241-000               2,500.00                              218,306.82
                                                          the Trustee and Coleman Group.

05/23/22     1042      Chad S. Paiva                      Reimbursement of expenses advanced for              2990-000                                   1,725.95          216,580.87
                                                          shredding of debtor's records, and removal and
                                                          disposal of debtor's tangible personal property.
                                                          See court order at DE#485 and Trustee's
                                                          notice of filing at DE#510.

05/31/22               Signature Bank                     Bank and Technology Services Fee                    2600-000                                       351.29        216,229.58

06/18/22               Titan Asset Purchasing LLC         DE#512 Order granting motion to sell                                      37,500.00                              253,729.58
                                                          judgments free and clear of liens, claims and
                                                          interests.

06/18/22   Asset #15                                                                                3,869.99 1241-000                                                      253,729.58

06/18/22   Asset #20                                                                                8,895.30 1241-000                                                      253,729.58

06/18/22   Asset #31                                                                               17,681.46 1241-000                                                      253,729.58
                                              Case 16-16068-PDR            Doc 517         Filed 07/11/22          Page 26 of 26

                                                                       Form 2                                                                                                   Page: 20

                                                       Cash Receipts and Disbursements Record
Case Number:           16-16068 PDR                                                               Trustee:                Chad S. Paiva
Case Name:             Dream Recovery International LLC                                           Bank Name:              Signature Bank
                                                                                                  Account:                ******2798 - Checking
Taxpayer ID#:          ******6802                                                                 Blanket Bond:           $53,950,000.00 (per case limit)
Period:                07/01/21 - 06/30/22                                                        Separate Bond:          N/A

   1            2                       3                                        4                                                 5                    6                   7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements         Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                    $            Account Balance

06/18/22   Asset #33                                                                               2,268.22 1241-000                                                      253,729.58

06/18/22   Asset #37                                                                               1,456.75 1241-000                                                      253,729.58

06/18/22   Asset #43                                                                               1,560.13 1241-000                                                      253,729.58

06/18/22   Asset #45                                                                               1,768.15 1241-000                                                      253,729.58

06/22/22   Asset #49 James Coleman                        DE#469 Order approving settlement between          1241-000               2,500.00                              256,229.58
                                                          the Trustee and Coleman Group.

06/30/22               Signature Bank                     Bank and Technology Services Fee                   2600-000                                       370.74        255,858.84


                                                                                ACCOUNT TOTALS                                   599,243.62           343,384.78         $255,858.84
                                                                                   Less: Bank Transfers                                0.00                 0.00

                                                                                Subtotal                                         599,243.62           343,384.78
                                                                                   Less: Payment to Debtors                                                 0.00

                                                                                NET Receipts / Disbursements                    $599,243.62          $343,384.78


                        Net Receipts:             $599,243.62                                                                        Net            Net                    Account
                                                                                     TOTAL - ALL ACCOUNTS                          Receipts    Disbursements               Balances
  Less Other Noncompensable Items:                      645.54
                                                                                     Checking # ******2798                       599,243.62           343,384.78          255,858.84
                          Net Estate:             $598,598.08
                                                                                                                                $599,243.62          $343,384.78         $255,858.84
